   Case: 1:19-cv-07583 Document #: 52 Filed: 05/01/20 Page 1 of 1 PageID #:3054




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

TOMMY HILFIGER LICENSING LLC,
                                                    Case No. 19-cv-07583
                        Plaintiff,
                                                    Judge John Robert Blakey
       v.
                                                    Magistrate Judge Jeffrey Cummings
XIE JI PING, et al.,

                        Defendants.


                       NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Tommy

Hilfiger Licensing LLC (“Tommy Hilfiger”) hereby dismisses this action with prejudice as to the

following Defendant:

               Defendant Name                                     Line No.
                loveningbaby18                                      162

Dated this 1st day of May 2020.            Respectfully submitted,

                                           /s/ RiKaleigh C. Johnson
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